         Case
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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA

  In Re: TAXOTERE (DOCETAXEL)                                           MDL NO. 2740
         PRODUCTS LIABILITY
         LITIGATION
                                                                        SECTION “N” (5)
  THIS DOCUMENT RELATES TO:
  ALL CASES


                                      ORDER AND REASONS

       Presently before the Court is Defendants Sanofi-Aventis U.S. LLC and Sanofi US Services

Inc.’s Motion to Dismiss Claims Barred by the Applicable Statutes of Limitations (Rec. Doc. 494).

Plaintiffs, through the Plaintiffs’ Steering Committee, have filed Plaintiffs’ Opposition to Defendants

Sanofi-Aventis U.S. LLC and Sanofi US Services Inc.’s Motion to Dismiss Claims Barred by the

Applicable Statute of Limitations, and Alternatively, Plaintiff’s Request to Continue the Submission

Date (Rec. Doc. 663), to which Defendants have replied (Rec. Doc. 771). Having carefully considered

the parties’ supporting and opposing submissions, the record, and the applicable law, IT IS

ORDERED that Defendants’ motion is DENIED WITHOUT PREJUDICE.

       Out of prudence, and without discounting any of Defendants’ arguments, the Court declines

to entertain the motion at this time. The Court finds that it is more appropriate to address this type of

motion once a flight of plaintiffs has been examined through discovery. Thus, such motion would be

ripe for this Court’s consideration after the first scheduled bellwether trial in this MDL.

       New Orleans, Louisiana, this 26th day of October 2017.



                                                       ____________________________________
                                                       KURT D. ENGELHARDT
                                                       UNITED STATES DISTRICT JUDGE




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